                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                      GREENEVILLE DIVISION

    UNITED STA TES OF AMERICA                              )
                                                           )
            V.                                             )               2:18-CR-17
                                                           )               JUDGE JORDAN
    ELIZABETH JEAN PATTERSON                               )               SEALED


                         WRIT OF HABEAS CORPUS AD PROSEQUENDUM

    THE PRESIDENT OF THE UNITED STATES OF AMERICA
    TO ANY AUTHORIZED REPRESENTATIVE
    THEREOF- GREETINGS:

            We command that you have the body o ELIZABETH JEAN ATTERSON who is

    currently in the custody of the Tennessee Prison for Women, at Nashville, Tennessee, under your

    custody as it is said, under safe and secure conduct before the Judge of our District Court within

    and for the Eastern District of Tennessee, at the City of Greeneville, Tennessee, on April 9,

    2018, at 11 :00 a.m. , there to be present for an Initial Appearance, or for her case to be otherwise

    disposed of upon said indictment heretofore returned against her, and each day thereafter until

    said case is disposed of, and immediately thereafter the said defendant shall be returned to the

    said Warden, Tennessee Prison for Women, at Nashville, Tennessee, under safe and secure

    conduct, and have you then and there this writ.

           And as by order of said District Court it is directed, if said Warden so elects, the United

    States Marshal for the Eastern District of Tennessee, or any other duly authorized United States

    Marshal or Deputy United States Marshal is hereby ordered and directed to receive said

    ELIZABETH JEAN PATTERSON into his custody and possession at the said Tennessee Prison

    for Women, at Nashville, Tennessee, and under safe and secure conduct to have her before the

    Judge of our said District Court at the time and place aforesaid for the purpose aforesaid, and to




Case 2:18-cr-00017-RLJ-CRW Document 1380 Filed 12/02/19 Page 1 of 2 PageID #: 8241
    return her to said Tennessee Prison for Women, at Nashville, Tennessee, under safe and secure

    conduct and redeliver her to the Warden, Tennessee Prison for Women, at Nashville, Tennessee.

                                                       DEBRA C. POPLIN, CLERK




   CUSTODY ASSUMED:

   EXECUTED this     _:!___ day of 1-:fb'/ , 20ll

           By:
                           tates Marshal/Deputy


   RETURNED:

   EXECUTED this      ~                +
                           day of cD c..      , 201~

                          \    D~7:"°o..J
           By:
                  United States Marshal/Deputy


   SENTENCEDSTATEPRISONER: Yes: _ _ No: _ _




Case 2:18-cr-00017-RLJ-CRW Document 1380 Filed 12/02/19 Page 2 of 2 PageID #: 8242
